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 1
 2
 3
 4       Entered on Docket
       March 23, 2020
 5 ___________________________________________________________________
 6
 7
 8
 9   KATHLEEN A. LEAVITT
     CHAPTER 13 BANKRUPTCY TRUSTEE
10   711 South 4th Street, Suite 101
     Las Vegas, Nevada 89101
11   Telephone: (702) 853-0700
     E-mail: kal13mail@las13.com
12
13                                UNITED STATES BANKRUPTCY COURT
14                                    FOR THE DISTRICT OF NEVADA
15   In re:                                              )      BK-19-12664-ABL
                                                         )      Chapter 13
16   DIVINA AQUINO,                                      )
                                                         )      Date: March 25, 2020
17                                        Debtor.        )      Time: 9:30 a.m.
                                                         )
18
       ORDER GRANTING STIPULATION TO CONTINUE TRUSTEE’S MOTION TO DISMISS
19
       AND DEBTOR’S CONFIRMATION HEARING SET FOR MARCH 25, 2020 AT 9:30 A.M.
20
21
22            The Court having considered the Stipulation filed as Docket Number 71 hereby ORDERS:
23
              IT IS HEREBY ORDERED that the Stipulation is APPROVED.
24
25
              IT IS FURTHER ORDERED that the Motion to Dismiss and Chapter 13 Plan confirmation
26
27   hearings scheduled for March 25, 2020 at 9:30 a.m. are both continued to April 29, 2020 at 9:30 a.m..

28                                                      1
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 1   Submitted by:
 2   /s/ Danielle N. Gueck-Townsend
 3   DANIELLE N. GUECK-TOWNSEND, ESQ.
     Nevada Bar No. 12164
 4   711 South 4th Street, Suite 101
     Las Vegas, Nevada 89101
 5   Attorney for Kathleen A. Leavitt,
     Chapter 13 Bankruptcy Trustee
 6   Dated:         3/23/2020
 7
     LR 9021 CERTIFICATION:
 8
     In accordance with LR 9021, counsel submitting this document certifies as follows:
 9
             The court has waived the requirement set forth in LR 9021(b)(1).
10
              No party appeared at the hearing or filed an objection to the motion.
11
        X    I have delivered a copy of this proposed order to all counsel who appeared at the hearing, and each has
12   approved or disproved the order, or failed to respond, as indicated below:

13   ISSO & HUGHES LAW FIRM                                            Approved:                x
                                                                       Disapproved:
14   /s/ Jennifer Isso                                                 Failed to Respond:
     JENNIFER ISSO, ESQ.
15   Nevada Bar No. 13157
     2470 St. Rose Pkwy, #306F
16   Henderson Nevada 89074
     Attorneys for Debtor
17
     Dated:            3/23/2020
18   [Sent Via Email: ji@issohughes.com 3/23/2020]

19           I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order with the motion
     pursuant to LR 9014(g), and that no party has objected to the form or content of the order.
20                                                           2
                                                            ###
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